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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

RUSSELL HUGHES, individually on behalf Case No. 7:17-cv-2494 (CS)(JCM)

of himself and all others similarly situated,
Plaintiff,
v.
WELEDA, INC.
Defendant.

 

 

 

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT WELEDA, INC.’S
MOTION TO DISMISS PLAINTIFF RUSSELL HUGHES’S COMPLAINT

 

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PRELIMINARY STATEMENT

Defendant Weleda, Inc. (“Weleda” or “Defendant”) seeks the entry of an Order
dismissing the Complaint filed by Plaintiff Russell Hughes (“Plaintiff”) on his own behalf and all
others similarly situated pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) as the Complaint fails
to state a claim upon Which relief can be granted.

This action concerns a number of Weleda’s cosmetics Products (as defined beloW) that
are certified natural under standards set forth by NATRUE, an international not-for-profit
organization The NATRUE seal is clearly displayed on products that have been certified to
meet the strict standards for “natural cosmetics” established by NATRUE after “taking account

wl

of consumers’ and manufacturers’ expectations and needs, among other things. Despite this,
Plaintiff alleges the representations of “Natural” and “Certified Natural” are “false, misleading,
and deceptive because the Products contain multiple ingredients that are synthetic.” (Compl.2
at 11 7.) In all, the Plaintiff identifies 41 Products and 24 allegedly synthetic ingredients, in
different combinations in each Product. (Compl. at 1111 1, 6, and 7.)

The Plaintiff’s claims fail for numerous reasons. In the first instance, the Plaintiff
admittedly only purchased two of the 41 Products on Which he seeks to assert a claim. (Compl.
at 11 31.) Furthermore, those two Products implicate less than half of the allegedly synthetic
ingredients identified by the Plaintiff. (Compl. at 1111 6 and 7.) Thus, under binding Second
Circuit decisional laW, the Plaintiff lacks class standing to assert claims for the 39 Products he
did not purchase.

Additionally, in making his claim, the Plaintiff points to the Organic Foods Production

Act of 1990 (the “OFPA”) as defining “synthetic,” but this legislation is utterly inapplicable and

 

1 See WWW.natrue.org/activities/natrue-label/
2 “Compl.” refers to the Class Action Complaint filed by the Plaintiff (ECF Doc. 1).

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the Plaintiffs purported definition fails as a matter of law. Furthermore, even assuming that the
OFPA applies, the ingredients Plaintiff identifies in the Products are nonsynthetic under the
OFPA and related regulations Thus, the representations made on the Products are not
misleading even using the Plaintiff’ s own definition.

The Plaintiff also fails to state a claim for a breach of an express Warranty as the Plaintiff
fails to allege privity with Weleda. This failure to allege privity also precludes the Plaintiff’ s
claims for a violation of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 (“MMWA”),
breach of the implied warranty of merchantability, and breach of the implied warranty of fitness
for a particular purpose. Additionally, the claims under the MMWA fail as the representations of
“Natural” or “Certified Natural” are not written warranties under the act, and the Plaintiff s claim
for a breach of the implied warranty of merchantability should be dismissed as the Plaintiff does
not allege that the Products are not merchantable. Further, the Plaintiff’s claim for a breach of
the implied Warranty of fitness for a particular purpose should be dismissed as the Plaintiff
cannot establish that the Products are not fit for use as cosmetics. Lastly, the Plaintiff also lacks
standing to assert claims for injunctive relief as he has alleged that he Would not purchase the
Products in the future.

Thus, for the reasons set forth and explicated in detail below, Weleda respectfully
requests that the Court dismiss the Plaintiff’ s Complaint in its entirety.

FACTS AND PROCEDURAL HISTORY

The Complaint alleges that Weleda’s representations that certain of its products are

“Natural” or “Certified Natural” are “false, misleading, and deceptive because the Products

contain multiple ingredients that are synthetic.” (Compl. at 11 7.)3 These “deceptive and

 

3 All factual references are taken from Plaintiff’s Complaint (ECF Doc. 1).
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misleading business practices” are alleged to have taken place “throughout the State of New
York and throughout the country.” (Compl. at 11 1.) The following Products are identified in the

Complaint:

-Weleda Men Active Shower Gel
'Weleda Pomegranate Creamy Body Wash
'Weleda Calendula Soap

'Weleda Evening Primrose Age
Revitalizing Body Oil

'Weleda Sea Buckthorn Replenishing
Body Lotion

°Weleda Evening Primrose Revitalizing
Body Wash

~Weleda Citrus Hydrating Body Lotion
'Weleda Evening Primrose Age
Revitalizing Hand Cream

'Weleda Pomegranate Regenerating Body
Oil

°Weleda Citrus Creamy Body Wash
°Weleda Sea Buckthorn Hand Cream
'Weleda Salt Toothpaste

°Weleda Ratanhia Toothpaste

~Weleda Calendula Diaper Rash Cream
'Weleda Calendula Shampoo and Body
Wash

'Weleda Calendula Body Cream

-Weleda Calendula Face Cream

'Weleda Stretch Mark Massage Oil
'Weleda Wheat Balancing Shampoo
'Weleda Oat Replenishing Conditioner
’Weleda Rosemary Conditioning Hair Oil

~Weleda Calendula Toothpaste

~Weleda Rose Soap

'Weleda Amica Sports Shower Gel
°Weleda Evening Primrose Age
Revitalizing Body Lotion

-Weleda Pomegranate Regenerating Body
Lotion

~Weleda Wild Rose Pampering Body
Lotion

~Weleda Skin Food - Small

'Weleda Pomegranate Regenerating Hand
Cream

~Weleda Sea Buckthorn Creamy Body
Wash

'Weleda Wild Rose Creamy Body Wash
~Weleda Children’s Tooth Gel

~Weleda Plant Gel Toothpaste

-Weleda Calendula Cream Bath
'Weleda Calendula Body Cream
'Weleda While Mallow Diaper Rash
Cream

~Weleda Calendula Body Lotion
'Weleda Calendula Body Oil

'Weleda Oat Replenishing Shampoo
~Weleda Millet Nourishing Shampoo
~Weleda Oat Replenishing Treatment

(Compl. at 11 1.)

The Complaint alleges that Weleda “manufactures, sells, and distributes the Products
using a marketing and advertising campaign centered around claims that appeal to health
conscious consumers, i.e., that their Products are ‘Certified Natural’ and/or ‘Natural.”’ (Compl.
at 11 2.) The Complaint further alleges that the “advertising and marketing campaign is false,

deceptive, and misleading because the Products contain synthetic ingredients.” (Id.) The

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Plaintiff asserts “that the term ‘natural,’ when used to describe goods such as the Products,
means that the goods are free of synthetic ingredients.” (Compl. at 11 11.) In turn, the Plaintiff
defines “synthetic” as “a substance that is formulated or manufactured by a chemical process or
by a process that chemically changes a substance extracted from naturally occurring plants,
animals, or mineral sources” and cites to the OFPA. (Compl. at 11 10.) The Plaintiff also intends
to introduce “[s]urveys and other market research” to support his definition of “natural.”
(Compl. at 11 11.)

Plaintiff maintains that the Products labeled “Natural” and “Certified Natural” contain the
following synthetic ingredients: Lactic Acid, Citric Acid, Xanthan Gum, Coco Glucoside,
Tocopherol (Acetate), Linalool, Farnesol, Glyceryl Stearate/Glyceryl Stearate Citrate (Stearic
Acid), Cetearyl Alcohol/Cetyl Alcohol/Stearyl Alcohol, Limonene, Geraniol, Citronellol, Citral,
Calcium Chloride/Calcium Carbonate, Benzyl Benzoate, Sodium Chloride, Sodium Bicarbonate,
Zinc Oxide, and Glycerin. (Compl. at 11 7.) The Plaintiff further maintains that “[c]onsumers
lack the meaningful ability to test or independently ascertain or verify whether a product is
natural, especially at the point of sale. Consumers would not know the true nature of the
ingredients merely by reading the ingredients label.” (Compl. at 11 12.)

The Plaintiff alleges that he and the potential class members relied upon the
misrepresentation that the Products Were “Natural” and “Certified Natural.” (Compl. at 11 20.)
Plaintiff also alleges that he and the class members “[p]aid a premium price for the Products that
were not what Defendant represented.” (Compl. at 11 23.) Plaintiff further claims that he and the
class members “were uniformly impacted by and exposed to this misconduct.” (Compl. at 11 34.)

Plaintiff admits that he did not purchase the Products, except for tWo: Weleda Calendula

Toothpaste and Weleda Men Active Shower Gel. (See Compl. at 11 31.) Plaintiff does not assert

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when he purchased the Products, nor does he assert when he learned or should have learned
about the alleged misrepresentation (See generally Compl. at 11 4.)
LEGAL ARGUMENT
I. LEGAL STANDARD

Federal Rule of Civil Procedure 8(a)(2) requires a complaint to set forth a “short and
plain statement of the claim showing that a pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).
In so doing, a pleader must provide “more than an unadorned, the-defendant-unlawfully-harmed-
me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citations omitted). ln addition, the
complaint must “give the defendants fair notice of what the claim is and the grounds upon
Which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal citation omitted).

In order to survive a motion to dismiss under F ederal Rule of Civil Procedure 12(b)(6), a
complaint “must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that
is plausible on its face.”’ Iqbal, 556. U.S. at 678 (citing Twombly, 550 U.S. at 570). “A claim
has facial plausibility when the plaintiff pleads factual content that allows the court to draw the
reasonable inference that the defendant is liable for the misconduct alleged.” Ia'. (citing
Twombly, 550 U.S. at 5 56). “The plausibility standard is not akin to a ‘probability requirement,’
but it asks for more than a sheer possibility that a defendant has acted unlawfully.” Id. In
undertaking this evaluation, the Supreme Court has stated that “the tenet that a court must accept
as true all of the allegations contained in a complaint is inapplicable to legal conclusions,” and
“[a] pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a
cause of action will not do.”’ Ia'. at 678 (citing Twombly, 550 U.S. at 555).

A claim is also properly dismissed for lack of subject matter jurisdiction under Federal

Rule of Civil Procedure 12(b)(1) “when the district court lacks the statutory or constitutional

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power to adjudicate it.” Makarova v. Unz'tea’ States, 201 F.3d 110, 113 (2d Cir. 2000). If a
plaintiff lacks Article lll standing, “a court has no subject matter jurisdiction to hear [the] claim.”
Cem‘. States Se. & Sw. Areas Health & Welfare Fund v. Merck-Medco Managed Care, L.L.C.,
433 F.3d 181, 198 (2d Cir. 2005). A plaintiff bears the burden of proving by a preponderance of
the evidence that it has standing to sue, and “must allege facts that affirmatively and plausibly”
suggest that it does. Ia'.

II. PLAINTIFF LACKS CLASS STANDING TO ASSERT CLASS CLAIMS FOR
PRODUCTS HE DID NOT PURCHASE.

The Plaintiff lacks class standing under Second Circuit precedent. A “plaintiff has class
standing if he plausibly alleges (1) that he ‘personally has suffered some actual... injury as a
result of the putatively illegal conduct of the defendant,’ and (2) that such conduct implicates
‘the same set of concems’ as the conduct alleged to have caused injury to other members of the
putative class by the same defendants.” NECA-IBEWHealth & Welfare Fund v. Gola'man Sachs
& C0., 693 F.3d 145, 162 (2d Cir. 2012). Furthermore, the “set of concerns” should be “nearly
identical.” Ia'. at 163; accord DiMuro v. Clinz'que Labs., LLC, 572 Fed. Appx. 27 (2d Cir. 2014).
ln the present matter, the Plaintiff s personal claims do not raise a nearly identical set of
concerns to a purchaser of another one of the Products. As such, the Plaintiff lacks class
standing with respect to the Products he did not purchase.

The Plaintiff has alleged that he only purchased Weleda Calendula Toothpaste and
Weleda Men Active Shower Gel. (Compl. at 11 31). Thus, the Plaintiff has admittedly only
purchased two out of the 41 Products for which he is seeking to assert claims on behalf of a

putative class. (Compl. at 11 1). Furthermore, the Plaintiff references 24 ingredients that are

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purportedly “synthetic.” (Compl. at 11 7). HoWever, only 11 of those ingredients are allegedly
found in the two Products purchased by Plaintiff.4 (See Compl. at 11 6.)

ln DiMuro, the Second Circuit Court of Appeals held that the plaintiffs “lack[ed] class
standing to bring claims for the four products that they did not purchase, and these claims were
properly dismissed.” 572 Fed. Appx. at 29. ln that case, the plaintiffs claimed to have class
standing to bring claims regarding the defendant’s marketing of seven different cosmetic
products, even though they had only purchased three of them. The Second Circuit noted that
“each of the seven different products have different ingredients” and that “[e]ntirely unique
evidence will, therefore, be required to prove that the 35-some advertising statements for each of
the seven different Repairwear products are false and misleading.” Ia’. Given the number of
products, ingredients, claims, and potential variants of same, the Second Circuit declared that
“[a]s a result, we cannot say that ‘claims brought by a purchaser of one product ‘would raise a
‘set of concems’ nearly identical to that of a purchaser’ of another Repairwear product.” Ia'.; see
also Ret. Ba'. of the Polz'cemen ’s Annuity & Ben. Funcl of the Cin of Chi. v. Bank of N. Y. Mellon,
775 F.3d 154, 161-62 (2d Cir. 2014) (rejecting the plaintiffs’ assertion of class standing because
the “alleged misconduct must be proved loan-by-loan and trust by trust”).

Similarly, the present motion to dismiss should also be granted as the Plaintiff does not
have class standing to assert claims for the Products he did not purchase. As noted above, the
Plaintiff is seeking to establish a class involving the purchasers of 41 Products (of which the
Plaintiff only purchased two), involving 24 ingredients that are allegedly “synthetic” (despite the

Plaintiff’s own claims only involving 11 of those ingredients). The volume of Products and

 

4 “It is proper to consider the publicly available ingredient lists for [the Products] because the
Plaintiffs made the ingredients a component of their consolidated complaint.” DiMuro, 572 Fed.
Appx. at 29, n.l (citing Levy v. Southbrook Int’l Invs., Lta'., 263 F.3d 10, 13 n.3 (2d Cir. 2001)).

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ingredients is greater in the present matter than it was in DiMuro. As such, as the Second Circuit
ruled, it cannot be said that the Plaintiffs claims would raise a nearly identical set of concerns
for another purchaser of the Products. Thus, the claims for all Products, other than Weleda
Calendula Toothpaste and Weleda Men Active Shower Gel, should be dismissed

III. PLAINTIFF’S RELIANCE ON THE OFPA IS MISPLACED.

The Plaintiff’ s claims that Weleda’s “Natural” and “Certified Natural” representations are
false is premised on an improper legal conclusion As noted above, the Plaintiff claims that
Weleda’s Products are not “Natural” or “Certified Natural” as they “contain multiple ingredients
that are synthetic.” (Compl. at 11 7.) ln tum, the Plaintiff defines “synthetic” as “a substance
that is formulated or manufactured by a chemical process or by a process that chemically
changes a substance extracted from naturally occurring plants, animals, or mineral sources” and
cites to the OFPA. (Compl. at 11 10.)

In the first instance, the Plaintiff’s subjective and misplaced definition of “Natural” is
based on the USDA’s definition of nonsynthetic ingredients as it pertains to food. This,
however, is utterly inconsistent with manufactured cosmetic products sold for retail across the
country and globally. (See Compl. at 11 9.) The Food and Drug Administration (“FDA”) defines
the term “cosmetic product” as meaning “a finished cosmetic the manufacture of which has
been completed.” 21 C.F.R. §700.3(b) (emphasis added); see also 21 C.F.R. §700.3(k)
(“manufacture means the making of any cosmetic product by chemical, physical, biological, or
other procedures, including manipulation, sampling, testing or control procedures applied to
the product”) (emphasis added). The FDA’s definition recognizes that a cosmetic is comprised
of ingredients that are processed to make the finished product. Therefore, the Plaintiff’ s

definition of natural is not plausibly applicable to cosmetics.

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Additionally, the OFPA was enacted by Congress “to establish national standards
governing the marketing of certain agricultural products as organically produced products.” 7
U.S.C.A. § 6501. However, the Plaintiff is not asserting any claims in this matter regarding
“organic” labeling of Weleda’s products. As such, the Plaintiff’ s reliance upon the OFPA is
misplaced. See Kelly v. Cape Cod Potato Chip Co., 81 F. Supp. 3d 754, 761 (W.D. Mo. 2015)
(dismissing “all natural” claims holding definition of “synthetic” as “inapplicable” since
“[p]laintiff does not allege that any of the Chips are sold as ‘organic,’ the National Organic
Program rules and definitions do not apply to them”).

IV. THE lNGREDIENTS ARE NONSYNTHETIC UNI)ER THE OFPA
REGULATIONS.

While purporting to rely upon the definition of synthetic under the OFPA, the Plaintiff
fails to fully recite the statutory definition, which is as follows:
Synthetic. The term “synthetic” means a substance that is
formulated or manufactured by a chemical process or by a process
that chemically changes a substance extracted from naturally
occurring plant, animal, or mineral sources, except that such term
shall not apply to substances created by naturally occurring
biological processes.
7 U.S.C.A. § 6502(21) (emphasis added). Thus, even assuming that Plaintiffs reliance on the
OFPA is proper, the Code of Federal Regulations utterly invalidates the Plaintiff’ s claims that
the identified ingredients are “synthetic.”
A. Lactic Acid ls Norlsynthetic.
In Paragraph 7.a. of the Complaint, the Plaintiff alleges that “Lactic Acid is a federally-
listed synthetic substance” and cites a provision of the Code of Federal Regulations to support

this allegation. (Compl. at 11 7.a.) A plain reading of the cited provision does not support this

claim. The Plaintiff cites to 21 C.F.R. § 172.515(b), which actually references “lactic acid, butyl

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ester, butyrate,” which is another name for butyl butyryllactate - an entirely different substance
than lactic acid.5

Additionally, the Plaintiff cites another provision to claim that lactic acid “must be
synthetically formulated for use as a food additive.” Again, the cited provision of the Code of
Federal Regulations does not support this claim. The cited provision reads in whole:

Lactic acid (C3H603, CAS Reg. Nos.: dl mixture, 598-82-3; l-

isomer, 79-33-4; d-isomer, 10326-41-7), the chemical 2-

hydroxypropanoic acid, occurs naturally in several foods. lt is

produced commercially either by fermentation of carbohydrates

such as glucose, sucrose, or lactose, or by a procedure involving

formation of lactonitrile from acetaldehyde and hydrogen cyanide

and subsequent hydrolysis to lactic acid.
21 C.F.R. § 184.1061(a) (emphasis added). This provision specifically notes that lactic acid
occurs naturally.

Furthermore, lactic acid is actually found to be “nonsynthetic” in the Code of Federal
Regulations. In fact, lactic acid is listed as an allowed nonsynthetic, which can be used in
organic products. See 7 C.F.R. § 205.605(a). It is also identified as “nonsynthetic” by the
USDA, Agricultural Marketing Service, National Organic Program in its Guidance, Materials for
Organic Crop Production. See NOP 5034-1.

Plaintiff’ s claims regarding lactic acid are not supportable, and therefore do not state a
claim. Accordingly, the Court should therefore dismiss all of Plaintiffs claims to the extent they
are based on lactic acid.

B. Citric Acid ls Nonsvnthetic.

The Plaintiff claims that citric acid is a synthetic substance and references a Technical

Evaluation Report complied for the USDA. However, this ignores the clear and unambiguous

 

5 See www.worldofchemicals.com/chemicals/chemical-properties/butyl-butyryl-lactate.html

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language of the Code of Federal Regulations. The USDA specifically classifies citric acid,
produced by microbial fermentation of carbohydrate substances, as nonsynthetic. 7 C.F.R. §
205.605(a). As such, Plaintiff’ s claims regarding citric acid are not supported or supportable.
Thus, the Plaintiff fails to state a claim that Weleda’s products containing citric acid are not
natural, and the Court should therefore dismiss all of Plaintiff’ s claims to the extent they are
based on citric acid.
C. Tocopherol Is Nonsvnthetic.
ln the Complaint, the Plaintiff identifies “Tocopherol (Acetate)” as a synthetic ingredient
found in Weleda’s products. (Compl. at 11 7.e.) This claim, however, appears to conflate two
different ingredients, tocopherol and tocopheryl acetate. As the ingredient the Plaintiff identifies
does not exist, the Plaintiff’s claims related to “Tocopherol (Acetate)” should be dismissed.
Setting this issue aside for the moment, the Plaintiff previously identified “tocopherol” as

the ingredient it is questioning in Paragraph 6 of the Complaint. (See Compl. at 11 6.) In support
of his claim that tocopherol is a synthetic ingredient, the Plaintiff cites to a portion of the Code of
Federal Regulations, but the cited provision is erroneous and does not support any such claim.
The Plaintiff alleges that tocopherol “is a synthetic, inert ingredient.” (Compl. at 11 7.e.) The
Code of Federal Regulations provision cited by the Plaintiff actually reads:

Residues of the following materials are exempted from the

requirement of a tolerance when used in accordance with good

agricultural practice as inert (or occasionally active) ingredients in

pesticide formulations applied to growing crops or to raw
agricultural commodities after harvest.

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40 C.F.R. § 180.910. The Word “synthetic” does not appear in this description6 Accordingly,
the Court should dismiss all of Plaintiffs claims to the extent they are based on tocopherol.
D. Linalool, Limonene. Geraniol. and Citral Are Nonsvnthetic.

In the Complaint, the Plaintiff misdirects the Court to the proper section of the Code of
Federal Regulations addressing linalool, limonene, geraniol, and citral. The Plaintiff directs the
Court to 21 C.F.R. § 182.60 titled “Synthetic flavoring substances and adjuvants.” However, this
ignores the general sections of the Code of Federal Regulations, which specifically address
artificial flavoring and natural flavoring.

The Code of Federal Regulations defines artificial flavor as:

Any substance, the function of which is to impart flavor, which is

not derived from a spice, fruit or fruit juice, vegetable or vegetable

juice, edible yeast, herb, bark, bud, root, leaf or similar plant

material, meat, fish, poultry, eggs, dairy products, or fermentation

products thereof. Artificial flavor includes the substances listed in

§§ l72.515(b) and 182.60 of this chapter except where these are

derived from natural sources.
21 C.F.R. § 101.22(a)(1) (emphasis added). Thus, the Plaintiff’s reference to 21 C.F.R. §182.60
must be evaluated in accordance with these provisions.

Each of these ingredients undoubtedly is derived from natural essential oils, all of which
are considered natural flavors under the Code of Federal Regulations. Under the regulations,
natural flavor is defined as:

the essential oil, oleoresin, essence or extractive, protein
hydrolysate, distillate, or any product of roasting, heating or
enzymolysis, which contains the flavoring constituents derived

from a spice, fruit or fruit juice, vegetable or vegetable juice,
edible yeast, herb, bark, bud, root, leaf or similar plant material,

 

6 As an aside, the Plaintiff attempts to impugn tocopherol by associating it with pesticide
formulations In fact, tocopherol is listed as a “safener,” 40 C.F.R. § 180.910, which is an
ingredient “used in an insecticidal or fungicidal spray to prevent damage to trees and foliage by
the other ingredients in the spray.” See Merriam-Webster Dictionary.

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meat, seafood, poultry, eggs, dairy products, or fermentation
products thereof, whose significant function in food is flavoring
rather than nutritional. Natural flavors include the natural
essence or extractives obtained from plants listed in §§ 182.10,
182.20, 182.40, and 182.50 and Part 184 of this chapter, and the
substances listed in § 172.510 of this chapter.

21 C.F.R. § 101.22(a)(3) (emphasis added).

On its website and on the Product packaging,7 Weleda identifies linalool with an asterisk
indicating that the identified ingredient is “from natural essential oils.” Furthermore, on its
website, Weleda describes “linalool” as follows:

Fragrance (Parfum) from essential oils. Linalool is a[n] occurring

component of essential oils, such as Lavender Oil, Bergamot Oil,

Geranium Oil and Ylang-Ylang Oil.
Nucifora Decl.8 at Ex. 42. ln fact, the Code of Federal Regulations identifies the essential oils
of bergamot, geranium, lavender, and ylang-ylang as natural flavors. 21 C.F.R. § 182.20. As
such, the Plaintiff fails to state a claim that Weleda’s Products containing linalool are not

“natural,” and the Court should dismiss all of Plaintiff s claims to the extent they are based on

linalool.

 

7 “For purposes of a motion to dismiss, we have deemed a complaint to include any written
instrument attached to it as an exhibit or any statements or documents incorporated in it by
reference, as well as public disclosure documents required by law to be, and that have been, filed
with the SEC, and documents that the plaintiffs either possessed or knew about and upon which
they relied in bringing the suit. Rothrnan v. Gregor, 220 F.3d 81, 88-89 (2d Cir. 2000) (citations
omitted). Furthermore, “’[f]or purposes of a 12(b)(6) motion to dismiss, a court may take
judicial notice of information publicly announced on a party's website, as long as the Website's
authenticity is not in dispute and it is capable of accurate and ready determination.”’ Biro v.
Conde Nast, 963 F. Supp. 2d 255, 269 (S.D.N.Y. 2013) (quoting Doron Precision Sys., lnc. v.
FAAC, Inc., 423 F. Supp. 2d 173, 179 n. 8 (S.D.N.Y. 2006)).

8 “Nucifora Decl.” refers to the Declaration of Christopher Nucifora, Esq. in Support of
Defendant Weleda Inc.’s Motion to Dismiss the Complaint of Plaintiff Russell Hughes, dated
January 8, 2018, and submitted herewith.

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Additionally, limonene is identified with an asterisk on Weleda’s website and product
packaging indicating that the identified ingredient is “from natural essential oils.” Furthermore,
on its website, Weleda describes “limonene” as follows:

Fragrance (Parfum) from essential oils. Limonene is a[n]

occurring component of essential oils, such as Rosemary Oil,

Lemon Oil, Orange Oil, Grapefruit Oil, Bergamot Oil, Fennel Oil

and Lavender Oil.
Nucifora Decl. at Ex. 43. Again, the Code of Federal Regulations identifies the essential oils of
rosemary, lemon, orange, grapefruit, bergamot, fennel and lavender as natural flavors. 21 C.F.R.
§ 182.20, As such, the Plaintiff fails to state a claim that Weleda’s products containing limonene
are not “natural,” and the Court should dismiss all of Plaintist claims to the extent they are
based on limonene.

As With the other ingredients in this section, geraniol is identified on Weleda’s website
and product packaging with an asterisk indicating that the identified ingredient is “from natural
essential oils.” Furthermore, on its website, Weleda describes “geraniol” as follows:

Fragrance (Parfum) from essential oils. Geraniol is a[n] occurring

component of essential oils, such as Rose Oil, Geranium Oil,

Palmarose Oil, Lavender Oil and Ylang-Ylang Oil.
Nucifora Decl. at Ex. 44. Yet again, the Code of Federal Regulations identifies the essential oils
of rose, geranium, palmarose, lavender and ylang-ylang as natural flavors. 21 C.F.R. § 182.20.
Therefore, the Plaintiff fails to state a claim that Weleda’s Products containing geraniol are not
“natural,” and the Court should dismiss all of Plaintiff’s claims to the extent they are based on
geraniol.

Similarly, citral also is identified on the website and packaging With an asterisk indicating

that it is “from natural essential oils.” Furthermore, on its website, Weleda describes “citral” as

follows:

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Fragrance (Parfum) from essential oils. Citral is a naturally

occurring component of essential oils, such as Lemon Oil, Orange

Oil, Lemon-Grass Oil and Bergamot Oil.
Nucifora Decl. at Ex. 45. As with the aforementioned ingredients, the Code of Federal
Regulations identifies the essential oils of lemon, orange, lemon grass, and bergamot as natural
flavors. 21 C.F.R. § 182.20, As such, the Plaintiff fails to state a claim that Weleda’s Products
containing citral are not “natural,” and the Court should dismiss all of Plaintiff’s claims to the
extent they are based on citral.

E. Farnesol, Citroncllol,_and Ben§vl Benl:oate Are Nonsvnthetic.

In claiming that famesol, citronellol, and benzyl benzoate are synthetic, the Plaintiff
conveniently cites to the incorrect section of the Code of Federal Regulations. The Plaintiff
directs the Court to 21 C.F.R. § 172.515 titled “Synthetic flavoring substances and adjuvants.”
However, this again ignores the general sections of the Code of Federal Regulations, which
address artificial flavoring and natural flavoring.

As previously noted, artificial flavor is defined in the regulations as:

Any substance, the function of which is to impart flavor, which is
not derived from a spice, fruit or fruit juice, vegetable or vegetable
juice, edible yeast, herb, bark, bud, root, leaf or similar plant
material, meat, fish, poultry, eggs, dairy products, or fermentation
products thereof. Artificial flavor includes the substances listed in
§§ l72.515(b) and 182.60 of this chapter except where these are
derived from natural sources.
21 C.F.R. § 101.22(a)(1) (emphasis added).
On the other hand, natural flavor is defined as:

the essential oil, oleoresin, essence or extractive, protein
hydrolysate, distillate, or any product of roasting, heating or
enzymolysis, which contains the flavoring constituents derived
from a spice, fruit or fruit juice, vegetable or vegetable juice,

edible yeast, herb, bark, bud, root, leaf or similar plant material,
meat, seafood, poultry, eggs, dairy products, or fermentation

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products thereof, whose significant function in food is flavoring

rather than nutritional. Natural flavors include the natural

essence or extractives obtained from plants listed in §§ 182.10,

182.20, 182.40, and 182.50 and Part 184 of this chapter, and the

substances listed in § 172.510 of this chapter.
21 C.F.R. § 101.22(a)(3) (emphasis added). Thus, the Plaintiff’ s reference to 21 C.F.R.
§172.515(b) must be evaluated in accordance with these provisions.

On the website and packaging, famesol is identified with an asterisk indicating that it is

“from natural essential oils.” Furthermore, on its website, Weleda describes “famesol” as
follows:

Fragrance (Parfum) from essential oils. Famesol is a[n] occurring

component of essential oils, such as Jasmine, Ylang-Ylang Oil,

Rose Oil and Neroli.
Nucifora Decl. at Ex. 46. ln fact, the Code of Federal Regulations identifies the essential oils of
jasmine, neroli, rose, and ylang-ylang as natural flavors. 21 C.F.R. § 182.20. As such, the
Plaintiff fails to state a claim that Weleda’s Products containing famesol are not “natural,” and
the Court should dismiss all of Plaintiff’s claims to the extent they are based on famesol.

Similarly, citronellol is identified with an asterisk on Weleda’s website and product

packaging indicating that it is “from natural essential oils.” Furthermore, on its website, Weleda
describes “citronellol” as follows:

Fragrance (Parfum) from essential oils. Citronellol is a[n]

occurring component of essential oils, such as Geranium Oil,

Muscatel Sage, Sandalwood and Citronella Oil.
Nucifora Decl. at Ex. 47. Again, the Code of Federal Regulations identifies the essential oils of

geranium, muscatel (clary) sage, sandalwood, and citronella as natural flavors. 21 C.F.R. §§

172.510 and 182.20, As such, the Plaintiff fails to state a claim that Weleda’s Products

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containing citronellol are not “natural,” and the Court should dismiss all of Plaintiff’s claims to
the extent they are based on citronellol.

Lastly, Weleda’s website and product packaging identifies benzyl benzoate with an
asterisk indicating that it is “from natural essential oils.” Furthermore, on its website, Weleda
describes “benzyl benzoate” as follows:

Fragrance (Parfum) from pure essential oils. Benzyl Benzoate is a

[sic] occurring component of essential oils, such as Jasmine Oil

and Ylang-Ylang Oil.
Nucifora Decl. at Ex. 48. Again, the Code of F ederal Regulations identifies the essential oils of
jasmine and ylang-ylang as natural flavors. 21 C.F.R. § 182.20, As such, the Plaintiff fails to
state a claim that Weleda’s Products containing benzyl benzoate are not “natural.” The Court
should therefore dismiss all of Plaintiff’ s claims to the extent they are based on benzyl benzoate.

F. Cetearvl Alcohol and Stearvl Alcohol Are Nonsvnthetic.

ln the Complaint, the Plaintiff points to the Code of Federal Regulations in support of its
claims that cetearyl alcohol and stearyl alcohol are synthetic. However, the cited provision does
not reference cetearyl alcohol or stearyl alcohol at all. See 21 C.F.R. § 172.515(b). As such, this
claim is unsupported. The Court should therefore dismiss all of Plaintiff’ s claims to the extent
they are based on cetearyl alcohol and stearyl alcohol as such claims do not give Defendant “fair
notice of what the claim is and the grounds upon which it rests.” Twombly, 550 U.S. at 555.

G. Calcium Chloride Is Nonsvnthetic.

The Plaintiff fails to state a claim with respect to calcium chloride as the Plaintiff does

not identify any Weleda Product containing that ingredient and calcium chloride is a

nonsynthetic ingredient In the first instance, the Plaintiff does not allege or otherwise identify

Whatsoever a Weleda Product containing calcium chloride. lndeed, it is not listed as an

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ingredient in any of the Products identified by the Plaintiff in either Paragraph 6 or Paragraph 1
of the Complaint. As such, the Plaintiff fails to state a claim in connection With calcium chloride
as such claims do not give Defendant “fair notice of what the claim is and the grounds upon
which it rests.” Two)nbly, 550 U.S. at 555.

Furthermore, as part of the National Organic Program, the USDA specifically identifies
calcium chloride as a nonsynthetic. 7 C.F.R. § 205.605(a). Even assuming that the Plaintiff
correctly identified calcium chloride as an ingredient, he still fails to state a claim that a product
containing calcium chloride is not “natural,” and the Court should therefore dismiss all of
Plaintiff’s claims to the extent they are based on calcium chloride.

H. Calcium Carbonate Is Nonsvnthetic.

In the Complaint, the Plaintiff does not cite to any specific regulatory provision to
support his claim that calcium carbonate is synthetic. Indeed, the USDA specifically lists
calcium carbonate as nonsynthetic in connection with the National Organic Program. 7 C.F.R. §
205.605(a). As such, the Plaintiff fails to state a claim that a product containing calcium
carbonate is not “natural,” and the Court should dismiss all of Plaintiff s claims to the extent they
are based on calcium carbonate as such claims do not give Defendant “fair notice of what the
claim is and the grounds upon which it rests.” Twombly, 550 U.S. at 555.

I. Sodium Chloride ls Nonsvnthetic.

The Plaintiff does not cite any regulation or federal publication to support his claim that
sodium chloride is synthetic. ln fact, sodium chloride is specifically identified as “nonsynthetic”
by the USDA, Agricultural Marketing Service, National Organic Program in its Guidance,
Materials for Organic Crop Production. See NOP 5034-1. Thus, the Plaintiff fails to state a

claim that Weleda’s Products containing sodium chloride are not “natural,” and the Court should

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dismiss all of Plaintiffs claims to the extent they are based on sodium chloride as they do not
give “fair notice of what the claim is and the grounds upon which it rests.” Twombly, 550 U.S.
at 555.

J. Sodium Bicarbonate Is Nonsvnthetic.

The Plaintiff alleges that sodium bicarbonate is “synthetic.” ln support of that claim, the
Plaintiff cites to 21 C.F.R. § 184.1736. However, the cited provision does not support any such
claim. ln fact, the word “synthetic” does not appear in that provision at all.

Furthermore, sodium bicarbonate is actually identified as “nonsynthetic” in the USDA’s
National Organic Program regulations See 7 C.F.R. § 205.605(a). It is also identified as
“nonsynthetic” by the USDA, Agricultural Marketing Service, National Organic Program in its
Guidance, Materials for Organic Crop Production. See NOP 5034-1. Thus, the Plaintiff fails to
state a claim that Weleda’s products containing sodium bicarbonate are not “natural,” and the
Court should dismiss all of Plaintiffs claims to the extent they are based on sodium bicarbonate
as they do not give Defendant “fair notice of what the claim is and the grounds upon which it
rests.” Twombly, 550 U.S. at 555.

K. As the lngrcdicnts Are Not Synthetic. the Prod_t_lcts Must Be “Natural” or
“Certified Natural” under Plaintist Definition.

The Plaintiff defines “Natural” products as those not including “synthetic” ingredients,
with “synthetic” defined by the USDA in its regulations As the ingredients identified in ll.A
through II.J, supra, are not “synthetic” under the Code of Federal Regulations, by applying the
Plaintiff’ s own definition, Plaintiff has failed to give Defendant “fair notice of what the claim
is and the grounds upon which it rests.” Twombly, 550 U.S. at 555. As such, the Court should

dismiss any claim asserting that Products containing the ingredients are not “natural.”

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V. PLAINTIFF’S CLAIM FOR BREACH OF EXPRESS WARRANTY FAILS.

The Plaintiff cannot assert a claim for breach of express warranty as he failed to allege
privity. Under New York law, “privity is an essential element of a cause of action for breach of
express warranty, unless the plaintiff claims to have been personally injured.” Koenig v. Boula'er
Brands, Inc., 995 F. Supp. 2d 274, 290 (S.D.N.Y. 2014) (citing DiBartolo v. Abbott
Laboratories, 914 F. Supp. 2d 601, 623-24 (S.D.N.Y. 2012)).

In the present instance, the Plaintiff failed to plead privity or that he was personally
injured Instead, Plaintiff admits that he purchased two of the Products from a third party, not
from Weleda directly. (See Compl. at 11 31.) Such a failure is fatal to the Plaintiff’s breach of
express warranty claim under New York law. See Ebin v. Kangadis Fooa1 Inc., 13 Civ. 2311,
2013 U.S. Dist. LEXIS 174174, at *6 (S.D.N.Y. Dec. 19, 2013) (dismissing breach of express
warranty claim that “100% Pure Olive Oil” label was misleading as plaintiff failed to plead
privity); Koenig, 995 F. Supp. 2d at 290 (dismissing breach of express warranty claim for “fat-
free” labelling of milk products as plaintiffs failed to plead privity). As such, the Plaintiffs
claim for breach of express warranty should be dismissed

VI. PLAINTIFF CANNOT ASSERT A CLAIM UNDER THE MAGNUSON-MOSS
WARRANTY ACT.

Plaintiff cannot assert a claim under the MMWA for representations that the listed
products are “Certified Natural” and/or “Natural” because these statements fail to meet the
definition of a warranty under the MMWA. Specifically, the MMWA narrowly defines a
warranty as: “written affirmation which relates to the nature of the material or workmanship
and affirms or promises that such material or workmanship is defect free or will meet a
specified level of performance over a specified period of time.” 15 U.S.C. § 2301(6)(A)

(emphasis added).

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Here, representations of “Certified Natural” or “Natural” are not written warranties under
the MMWA because the representations do not guarantee a defect-free product, nor promise
levels of performance over a specific time period lt is well settled that a written affirmation of
fact, e.g. that the Products are “Certified Natural,” is not a written warranty under the MMWA
unless it promises that it “Will meet a specified level of performance over a specified period of
time.” Id. “Certified natural” is not a claim of performance, and nothing on the Product labels
promise a specified level of performance over a specified period time. See id. At most, the
“Natural” statement is a product description, not actionable under the MMWA. See, e.g., In re
Frito-Lay N. Am., Inc., All Nat. Litig., 12-MD-2413, 2013 U.S. Dist. LEXIS 123824, at *17, *27
(E.D.N.Y. Aug. 29, 2013) (dismissing MMWA claim as “All Natural” representation “does not
constitute a written warranty”); Hairston v. South Beach Bev. Co., CV 12-1429-JFW, 2012 U.S.
Dist. LEXIS 74279 (C.D. Cal. May 18, 2012) (dismissing MMWA claim as “all natural with
vitamins” does not constitute a written warranty); accord Bowling v. Johnson & Johnson, 65 F.
Supp. 3d 371, 377-78 (S.D.N.Y. 2014) (dismissing MMWA claim as “Restores Enamel” is a
product description, and not a promise of performance over time).

The Federal Trade Commission, which administers the MMWA, interprets Section
2301(6)(A) in exactly this way. See 16 C.F.R. § 700.3(a) (“A written affirmation of fact or a
written promise of a specified level of performance must relate to a specified period of time in
order to be considered a ‘written warranty.’ A product information disclosure without a
specified time period to which the disclosure relates is therefore not a written warranty.”).

Furthermore, a claim under the MMWA is derivative of a state law Warranty claim.

Chiarelli v. Nl`ssan N. America, Inc., 14-CV-4327, 2015 U.S. Dist. LEXIS 129416, at *26

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(E.D.N.Y. Sept. 25, 2015). As the Plaintiff lacks privity, supra, he cannot assert a breach of
express warranty claim. Thus, a derivative MMWA claim must also fail.

Lastly, Plaintiff does not allege sufficient facts to meet the MMWA’s amount-in-
controversy requirement The MMWA declares that “[n]o claims shall be cognizable,” even in a
putative class action, “if the amount in controversy of any individual claim is less than the sum
or value of $25.” 15 U.S.C. § 2310(d)(3) (emphasis added). The Plaintiff has not alleged that
the value of each individual class member’s claim exceeds the $25 threshold

VII. PLAINTIFF’S CLAlMS OF BREACH OF IMPLIED WARRANTY OF
MERCHANTABILITY AND WARRANTY OF FITNESS FOR PARTCULAR
PURPOSE SHOULD BE DISMISSED.

The Plaintiff has failed to state a claim for a breach of either the implied warranty of
merchantability or the implied warranty of fitness for a particular purpose. Both implied
Warranties require a showing of privity, which the Plaintiff has not alleged Additionally, the
Plaintiff does not allege that the Products are not merchantable or fit for their ordinary purpose as
body cleansers and lotions.

“The implied warranty of merchantability is a guarantee by the seller that its goods are fit
for the intended purpose for Which they are used and that they will pass in the trade without
objection.” Wojcik v. Empire Forklift, Inc., 783 N.Y.S.2d 698, 700 (App. Div. 2004). However,
“[t]he implied warranty of fitness for a particular purpose does not arise in every consumer
sale, but only when a seller knows or has reason to know the particular purpose for which a
buyer requires goods, and also knows or should know that the buyer is relying on his special
knowledge.” Abraham v. Volkswagen of Am., Inc., 795 F.2d 238, 249 (2d Cir. 1986).

Plaintiff has failed to state a claim for breach of either implied warranty in the Complaint

because “absent any privity of contract between Plaintiff and Defendant, [an implied warranty]

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claim cannot be sustained as a matter of law except to recover for personal injuries.” Weisblum
v. Prophase Labs., Inc., 88 F. Supp. 3d 283, 296 (S.D.N.Y. 2015) (quoting Wick v. Wabash
Hola'ing Corp., 801 F. Supp. 2d 93, 108 (W.D.N.Y. 2011)); see also Abraham, 795 F.2d at 249
(“To have a cause of action for breach of an implied warranty of fitness privity must
necessarily exist because the creation of the warranty requires a direct exchange between buyer
and seller.”); Ebin, 2013 U.S. Dist. LEXIS 174174, at *6; Westchester Cnty. v. Gen. Motors
Corp., 555 F. Supp. 290, 294 (S.D.N.Y. 1983).

In the present matter, the Plaintiff failed to plead privity of contract. The Plaintiff merely
pleaded that he purchased the Products from a third party and paid more than he would have
otherwise been willing to pay because the Products Were allegedly labeled with misleading
information This is insufficient as a matter of law.

The Plaintiff’s Complaint fails to assert implied warranties of merchantability and fitness
for a particular purpose because he does not_and cannot-_assert that the products are not
merchantable or fit for their ordinary uses as personal care products (See generally Compl. at 11
l.) Instead, the Complaint contends that Weleda has breached implied warranties by
representing the products as “Certified Natural” or “Natural.” (See Compl. at 1111 101, 107.)
These allegations are specific representations not characteristics that affect the products’
merchantability or fitness for a particular purpose. As such, these claims should be dismissed
See, e.g., Viggiano v. Hansen Natural Corp., 944 F. Supp. 2d 877, 895-97 (C.D. Ca. 2013)
(dismissing implied Warranty claims based on representation of “all natural flavors” in soda, as it
did not affect the soda’s merchantability and fitness for a particular purpose); Ackerman v. Coca-
Cola Co., CV-09-0395, 2010 U.S. Dist. LEXIS 73156, at *95 (E.D.N.Y. Jul. 21, 2010) (“A

warranty of merchantability does not mean that the product will fulfill a buyer’s every

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expectation, but rather simply provides for a minimum level of quality”); Viscusi v. Proctor &
Gamble, 05-CV-01528, 2007 U.S. Dist. LEXIS 51307, at *37-38 (E.D.N.Y. July 16, 2007)
(“Despite plaintiff’s allegations that she sustained an allergic reaction as a result of using Clairol
Nice ‘N Easy to color her hair, plaintiff has failed to establish that the product was unfit for its
intended purpose of coloring hair.”), aff’d sub. nom, Viscusi v. P & G-Clairol, Inc., 346 Fed.
Appx. 715 (2d Cir. 2009); Pai v. Springs Indus., Inc., 795 N.Y.S.2d 98, 99 (2d Dep’t 2005)
(“When a product is widely sold and easily purchased, the mere fact that an infinitesimal number
experienced a discomforting reaction is not sufficient to establish that the product was not fit for
the purposes intended”).

VIII. PLAINTIFF LACKS STANDING TO ASSERT A CLAIM FOR INJUNCTIVE
RELIEF.

The Plaintiff lacks Article III standing to assert injunctive relief claims because he is
aware of the purportedly suspect ingredients contained in Weleda’s Products and admits he will
not purchase the products “as is.” This admission is fatal to Plaintiff’ s request for injunctive
relief and the Court should dismiss Plaintiff’s claim pursuant to Federal Rule of Civil Procedure
12(b)(1). To establish standing to seek injunctive relief, a plaintiff must show a “real and
imminent” threat of future harm and cannot rely on past injury alone. See City of Los Angeles v.
Lyons, 461 U.S. 95, 101-102 (1983); Nicosia v. Amazon.com, Inc., 834 F.3d 220, 239 (2d Cir.
2016) (“Plaintiffs lack standing to pursue injunctive relief where they are unable to establish a
‘real or immediate threat’ of injury.”).

ln the present instance, Plaintiff asserts that the only way he would purchase the products
again is “if the ingredients were changed.” (See Compl. at 1111 31, 46, 48.) Plaintiff alleges that
he does not Want to purchase the Products already on the market_he thinks they are deceptively

advertised (See id at 1111 24, 32.) Instead, he asserts that if Weleda someday produced different

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products, he might like to purchase it. (See id. at 1111 31, 46, 48.) Consequently, Plaintiff lacks
standing because he admits he would not purchase the Products “as is” and is, therefore, not
likely to suffer any future injury. This warrants dismissal of his request for injunctive relief. See
Nicosia, 834 F.3d at 239; see also Atik v. Welch Foods, Inc., l5-CV-5405, 2016 U.S. Dist.
LEXIS 136056, at *19-20 (E.D.N.Y. Sept. 30, 2016); Albert v. Blue Diamond Growers, 151 F.
Supp. 3d 412, 418 (S.D.N.Y. 2015); Tomasino v. Estee Lauder Companies, Inc., 44 F. Supp. 3d
251, 256 (E.D.N.Y. 2014).
CONCLUSION
As detailed above, the Plaintiff’s Complaint should be dismissed in its entirety. Given
the Plaintiff’s lack of class standing, the unreasonableness of Plaintiff’s definition of “Natural”
and “Certified Natural,” the lack of privity, and for other reasons set forth herein, Weleda
respectfully requests that the Court dismiss the Complaint.
Respectfully submitted,
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